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Dear Officer Miller,



        This is one of the hardest letters I’ve ever penned to paper. I had hoped to be able to speak to
you man to man. My grandfather taught me early on that a man has a obligation to always settle any
dispute outside of the courts. I have always been able to communicate and come to resolution with
those individuals for a positive outcome. This is the first time I have been unable to achieve this
objective. It is my hope that you will be receptive to have open dialogue with me so that we can move
forward in a positive and meaningful way.

         I would like you to know that I’m sorry for any harm or injury you may have endured due to my
actions or indirect actions on that tragic day. I never had any intent or thought of going into the Capitol
or that I was going to be engaged in a angry manner. I don’t have hatred for law enforcement let alone
for anyone in my heart. In fact hate is one of the only thing our children are not permitted to say or
convey. We are a tolerant family that love and try to understand differences of opinions and that’s what
makes us special and unique as individuals.

        Mr. Miller you see I often try to put myself in your shoes on that tragic day. In doing so I’m
horrified at the position you and other officers were put in. I also imagine the dozen or so officers that
our family knows that protect and serve our little community and it breaks my heart to envision them in
your shoes that day. It’s fair to say our family and community back the blue. Unfortunately due to my
own actions my son has changed his career path from being an officer to being a nurse. This ordeal that I
have subjected my family to has been brutal on them. I will continue to inform him that my actions and
situation shouldn’t affect him being an officer. Our community needs good public servants to influence it.
I had hoped he could be like my uncle who retired from the sheriff’s department in California or like my
grandma’s brother a Fort Worth TX sheriff’s department retiree.

         Mr. Miller thank you for your service and I hope your family the best in moving forward. I will
continue to pray for you and our country. If there is anything that I might be able to assist you in please
don’t hesitate to ask. I hope we may be able to heal and move forward positively. God bless you, your
family, and our Republic.



Peter F. Stager
